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                              UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF MASSACHUSETTS (BOSTON)

IN RE:

Kevin B. Strick, and Kathleen M. Strick aka
Kathleen M. Sheehan, aka Kathleen M. Sheehan-
Strick,
Debtors.


U.S. Bank National Association, as Indenture              CHAPTER 7
Trustee for Citigroup Mortgage Loan Trust,                CASE NO. 18-11846-FJB
Mortgage-Backed Notes, Series 2005-6,

VS.

Kevin B. Strick, and Kathleen M. Strick aka
Kathleen M. Sheehan, aka Kathleen M. Sheehan-
Strick


                                    MOTION FOR RELIEF FROM STAY

To the Honorable Frank J. Bailey:

U.S. Bank National Association, as Indenture Trustee for Citigroup Mortgage Loan Trust, Mortgage-Backed

Notes, Series 2005-6, your moving party in the within Motion, hereby requests that the Court grant relief

from the Automatic Stay imposed by 11 U.S.C. §362 aand respectfully represents:

1.       The movant has a mailing address of 3476 Stateview Blvd MAC #D3347-014, Ft. Mill, SC 29715.

2.       The debtors have a mailing address of 14 Harbor Ridge Rd., Mashpee, MA 02649.

3.       On May 16, 2018, the debtors filed a petition under Chapter 7 of the United States Bankruptcy Code

in the United States Bankruptcy Court for the District of Massachusetts.

4.       The movant is the holder of a first mortgage on real estate in the original amount of $375,000.00

given by Kevin R. Strick and Kathleen M. Sheeban-Strick to Merrlin Mortgage Corporation on or about

March 8, 2004. Said mortgage is recorded in the St. Louis Country Registry of Deeds at Book 15683, Page

0990and covering the premises located at 2 Adams Lane, St Louis, MO 63122. A copy of the mortgage is

annexed hereto and marked as Exhibit B.
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5.      Said mortgage secures a note given by Kevin R. Strick to Merrlin Mortgage Corporation in the

original amount of $375,000.00. Wells Fargo Bank, NA, services the loan on the property referenced in

this motion for relief. In the event the automatic stay in this case is lifted/set aside, this case dismisses,

and/or the debtor obtains a discharge and a foreclosure action is commenced on the mortgaged property,

the foreclosure will be conducted in the name of U.S. Bank National Association, as Indenture Trustee for

Citigroup Mortgage Loan Trust, Mortgage-Backed Notes, Series 2005-6. Debtor executed a promissory note

secured by a mortgage or deed of trust. The promissory note is either made payable to Creditor or has been

duly endorsed. Creditor, directly or through an agent, has possession of the promissory note. Creditor is the

original mortgagee or beneficiary or the assignee of the mortgage or deed of trust. A copy of the note is

annexed hereto and marked as Exhibit A.

6.      There is no other collateral securing the obligation.

7.      Said mortgage was subject to the following assignments:

Merrlin Mortgage Corp to Wells Fargo Home Mortgage, Inc., recorded on March 8, 2004, in Book No.
1568, at Page 1007

Wells Fargo Bank, N.A., successor by merger to Wells Fargo Home Mortgage, Incorporated to US Bank
National Association, as Indenture Trustee for Citigroup Mortgage Loan Trust, Mortgage Backed Notes,
Series 2005-6, recorded on January 26, 2018, in Book No. 22874, at Page 1798

A copy of the assignments is annexed hereto and marked as Exhibit C.

8.      There is no Declaration of Homestead recorded.

9.      As of May 29, 2018, approximately $254,757.86 in principal, interest, late fees and other charges was

due with regard to U.S. Bank National Association, as Indenture Trustee for Citigroup Mortgage Loan Trust,

Mortgage-Backed Notes, Series 2005-6's note and mortgage.

10.     According to the debtor’s Statement of Intention, the subject property is being surrendered.




Name of Creditor                                   Type of Lien             Amount Owed
Movant                                             First lien               $254,757.86

CitiBank N.A.                                      Junior Mortgage          $219,158.09



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Total Secured Encumbrances:                                                      $473,915.95
11.    There are the following encumbrances on the property:



12.     According to the Debtor’s Schedules, the fair market value of the subject property is $680,000.00.

The liquidation value of the subject property is $635,599.20, calculated as the fair market value less a

reasonable realtor’s fee (6%); deed stamps $3,100.80 and anticipated costs incurred for a real estate

closing of $500.00.

13.     The note and mortgage are in default for the February 1, 2018 payment, and all payments thereafter

plus reasonable attorney’s fees and costs and other charges incurred by the movant.

14.     The movant seeks relief from stay as a secured creditor to enforce its rights under its loan documents

and applicable law. In support thereof, the movant states that it is entitled to relief:

         I.       Pursuant to 11 U.S.C. §362 (d)(1) for cause on the basis that the debtors are in default on

                  said contractual obligations, the primary purpose of a Chapter 7 proceeding is to liquidate

                  the assets of the debtors;



WHEREFORE, the movant prays that it, and its successors and/or assigns, be granted relief from the

automatic stay for the purpose of: (i) exercising its rights under its agreements with the debtors and under

applicable law, including, without limitation, taking possession of the mortgaged premises and/or foreclosing

or accepting a deed in lieu of foreclosure of its mortgage on said premises; (ii) preserving its right to seek any

deficiency to the extent permitted by state and federal law, including 11 U.S.C. §524(a); (iii) bringing such

actions, including, without limitation, proceedings, as are permissible by law; and (iv) that the Court order

such other and further relief as may be just and proper.



                                                       Respectfully submitted,

                                                       U.S. Bank National Association, as Indenture
                                                       Trustee for Citigroup Mortgage Loan Trust,
                                                       Mortgage-Backed Notes, Series 2005-6,


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                                           By its Attorney
                                           /s/Richard T. Mulligan

                                           Richard T. Mulligan
                                           BBO# 567602
                                           Harmon Law Offices, P.C.
                                           PO Box 610389
                                           Newton Highlands, MA 02461
                                           (617)558-0500
                                           mabk@harmonlaw.com
Dated: June 19, 2018




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                              UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF MASSACHUSETTS (BOSTON)

IN RE:                                                            Case No. 18-11846-FJB
                                                                  Chapter 7
Kevin B. Strick, and Kathleen M. Strick,

Debtors.

                                       CERTIFICATE OF SERVICE

        I, Richard T. Mulligan, state that on _June 19, 2018______________, I electronically filed the
foregoing document with the United States Bankruptcy Court for the District of Massachusetts on behalf of
U.S. Bank National Association, as Indenture Trustee for Citigroup Mortgage Loan Trust, Mortgage-
Backed Notes, Series 2005-6 using the CM/ECF System. I served the foregoing document on the following
CM/ECF participants:

William Scannell

Donald R. Lassman

John P. Fitzgerald III

I certify that I have mailed by first class mail, postage prepaid, the documents electronically filed with the
Court on the following non CM/ECF participants:

Kevin B. Strick
a/k/a Kevin R. Strick
14 Harbor Ridge Rd
Mashpee, MA 02649

Kathleen M. Strick
a/k/a Kathleen M. Sheehan, a/k/a Kathleen M. Sheehan- Strick
14 Harbor Ridge Rd
Mashpee, MA 02649

CitiBank N.A.
PO Box 790110
Saint Louis, MO 63179-0110

St. Louis Collector of Revenue
1200 Market St.
St. Louis, MO 63103

                                                    Respectfully submitted,

                                                    U.S. Bank National Association, as Indenture
                                                    Trustee for Citigroup Mortgage Loan Trust,
                                                    Mortgage-Backed Notes, Series 2005-6,



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                                           By its Attorney
                                           /s/Richard T. Mulligan

                                           Richard T. Mulligan
                                           BBO# 567602
                                           Harmon Law Offices, P.C.
                                           PO Box 610389
                                           Newton Highlands, MA 02461
                                           (617)558-0500
                                           mabk@harmonlaw.com
Dated: June 19, 2018




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                                 UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF MASSACHUSETTS (BOSTON)

IN RE:                                                            Case No. 18-11846-FJB
                                                                  Chapter 7
Kevin B. Strick, and Kathleen M. Strick aka
Kathleen M. Sheehan, aka Kathleen M.
Sheehan-Strick,

Debtors.

 Order Granting U.S. Bank National Association, as Indenture Trustee for Citigroup Mortgage Loan
                       Trust, Mortgage-Backed Notes, Series 2005-6 Relief
                   From The Automatic Stay and Leave to Foreclose Mortgage

         This matter has come before the Court, and after full consideration, and no objection having been

filed after proper notice, it is hereby ordered that U.S. Bank National Association, as Indenture Trustee for

Citigroup Mortgage Loan Trust, Mortgage-Backed Notes, Series 2005-6, its Successors and/or Assigns,

Motion for Relief From Automatic Stay is hereby granted and the stay imposed by 11 U.S.C. §362 is hereby

terminated and it may proceed to foreclose or accept a deed in lieu of foreclosure of the mortgage given by

Kevin B. Strick and Kathleen M. Sheeban-Strick to dated March 8, 2004. Said mortgage is recorded in the

at Book 15683, Page 0990and covering the premises located at 2 Adams Lane, St Louis, MO 63122. U.S.

Bank National Association, as Indenture Trustee for Citigroup Mortgage Loan Trust, Mortgage-Backed

Notes, Series 2005-6, its Successors and/or Assigns, may exercise its rights under said Mortgage, including

preserving its right to seek any deficiency to the extent permitted by state and federal law, including 11

U.S.C. §524(a), and may bring such actions, including, without limitation, eviction proceedings, as are

permissible by law, all as set forth in its Motion.



                                                                                  Honorable Frank J. Bailey
                                                                             United States Bankruptcy Judge

18-11846-FJB




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